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                     UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF TEXAS
                         SAN ANTONIO DIVISION

RUSSELL ZINTER, et al;
                                               CIVIL ACTION NO: 5:18-CV-680
             Plaintiffs,

VS.

CHIEF JOSEPH SALVAGGIO, et al;

          Defendants.
________________________________________/

      PLAINTIFFS’ REPLY BRIEF IN RESPONSE TO DEFENDANTS’
        RESPONSE TO PLAINTIFFS’ MOTION FOR TEMPORARY
                      RESTRAINING ORDER
   By way of background, Plaintiffs incorporate by reference their First Amended
Complaint, ECF #3, their Emergency Motion for TRO, ECF #20, and their Reply
Brief, ECF #32. However, one more point must be made, herein.
   The defendants point to two cases in support of their position that this Court lacks
jurisdiction over the parties and property that are at the heart of this litigation:

Wightman v. Tex. Sup. Ct., 84 F.3d 188, 189 (5th Cir. 1996) explaining the Younger
Abstention Doctrine announced in Younger v. Harris, 401 U.S. 37, 43 (1971), and
Texas Ass’n of Business v. Earle, 388 F.3d 515, 519 (5th Cir. 2004).

   1. The defendants’ bad faith is palpable.
   The defendants rely on Texas Ass’n of Business v. Earle, 388 F.3d 515, 519 (5th
Cir. 2004), which requires that they bring the criminal actions in good faith. To make

this argument, they point to four pending criminal actions, #ECF #33 pg ID 4 of 5,
in their attempt to trick this Court into believing that the defendants are acting in


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good faith and that they are in good faith prosecuting crimes and that is why they
need the seized property. The defendants claim that they need the property that was

seized in furtherance of their investigations into these four crimes.
   But this is not true. The defendants forgot to tell the Court that even they believe
that at least some of the property seized related to one of these “crimes” is not needed
for the criminal case. Attached please find a letter sent to Mark Brown, offering his
property back in exchange for Mr. Brown’s promise to hold the defendants harmless.
This letter was sent June 21, 2018 even though the criminal case is pending and even

though Mr. Brown was charged, on June 14/15, 2018. Others received similar letters.
Now, however the defendants suddenly claim they need all this property, to be able
to prosecute these “crimes.”
   What changed? Simple: A lawsuit was filed. And they know that the best way to
undermine claims for unlawful arrests or malicious prosecution is with convictions.
See Heck v Humphrey, 512 US 477(1994). So, they are doubling down and
attempting to use the criminal courts to backhandedly achieve these convictions
specifically to defend this lawsuit.
   Further, perhaps now that they are being sued, they will attempt to find

something, anything, on these devices that they can use to prosecute the plaintiffs
for some crime, so that they can further indemnify themselves from the instant
action. This would certainly explain why they are taking such drastic measures over

such minor criminal charges; and frankly no other explanation makes sense.
   Could there possibly be a worse example of bad faith? Unlikely. And that is
precisely why this TRO is so necessary.


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                                   CONCLUSION
   This Court absolutely has jurisdiction over the property at issue. Further, even

per Younger, there is irreparable injury, which further gives this Court jurisdiction
over the property at issue. Lastly, no such adequate opportunity is being afforded to
raise constitutional issues prior to the irreparable injury. Alternatively, at the very

least, this Court should order the defendants to produce all warrants and affidavits
related to the seized property so that the appropriate party be provided an adequate
opportunity to raise constitutional issues in some court somewhere before the
irreparable injury transpires.


                                        Respectfully Submitted,
                                        /S/ Solomon M. Radner
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DATED: September 10, 2018

                                 PROOF OF SERVICE
      On September 10, 2018, the undersigned served this notice on all known

parties of record by efiling it on this Court’s efiling system which will send notice
to counsel of record for all parties, with the exception of the Doe defendants who
have yet to be identified.

                                  /s/ Solomon M. Radner




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